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                               IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE EASTERN DISTRICT OF TEXAS
                                          SHERMAN DIVISION

IN RE:                                                              §
                                                                    §               CASE NO. 25-40712
DZS INC., et al.,1                                                  §
                                                                    §               (Chapter 7)
                                 DEBTORS.                           §

                             SECOND NOTICE OF
         ASSUMPTION OF EXECUTORY CONTRACT(S) OR UNEXPIRED LEASE(S)

        PLEASE TAKE NOTICE THAT on April 28, 2025 the United States Bankruptcy Court
for the Eastern District of Texas (the “Court”) entered an order [Docket No. 112] (the
“Sale Order”) that, among other things approved the sale of substantially all of the assets of the
above-captioned debtors (the “Debtors”) to Zhone Technologies, Inc., (“Zhone”), formerly known
as Fibre Acquisitions Corporation.

       PLEASE TAKE FURTHER NOTICE THAT the Trustee filed the Notices of Executory
Contracts and/or Unexpired Leases to be Assumed [ECF Nos. 47-66, 69] with the Court on April
14, 2025 and served such Notices on counter-parties to such Executory Contract(s) and/or
Unexpired Lease(s) (each a “Notice of Potentially Assumed Contract or Lease”).

      PLEASE TAKE FURTHER NOTICE THAT the Purchaser has elected to assume the
Executory Contract(s) and/or Unexpired Lease(s) to which you are a party listed on the attached
Exhibit 1 to this Notice.

        PLEASE TAKE FURTHER NOTICE THAT “cure” obligations included in the Notice
of Potentially Assumed Contract or Lease or as otherwise agreed to by the Purchaser and any other
party to such lease or contact (the “Cure Claim”) of any Executory Contract(s) or Unexpired
Lease(s) included in this Notice, shall be satisfied for the purposes of section 365(b)(1) of the
Bankruptcy Code, by payment in Cash, within ten (10) calendar days of this Notice or on such other
date as the parties to such Executory Contract(s) and/or Unexpired Lease(s) may otherwise agree.
Any Cure Claim shall be deemed fully satisfied, released, and discharged upon such payment. The
Purchaser may settle and pay any Cure Claim without any further notice to or action, order, or
approval of the Bankruptcy Court. The Trustee and Purchaser may adjourn consideration of any
cure dispute beyond the Sale Hearing.




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  The Debtors in these Chapter 7 Cases, along with the last four digits of each Debtor’s federal tax identification
number, are: DZS Inc. (9099); DZS Services Inc. (3763); and DZS California Inc. (3221) (each “Debtor” and
collectively the “Debtors”). The location of the Debtors’ service address for purposes of these Chapter 7 Cases is:
5700 Tennyson Parkway, Suite 400, Plano, TX 75024.



    5/9/2025 (2:13 PM) 5/9/2025 (2:13 PM) 126685.000001 4898-6346-0663.3 5/9/2025 (2:13 PM)
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       PLEASE TAKE FURTHER NOTICE THAT the Purchaser is responsible for payment
of any Cure Claims as defined in the Notice of Potentially Assumed Contract or Lease related to
your agreement.

      PLEASE TAKE FURTHER NOTICE THAT any objection to the assumption of an
Executory Contract or Unexpired Lease under the Plan was due no later than April 25, 2025.

       PLEASE TAKE FURTHER NOTICE THAT any request for payment of or objection
to a Cure Claim that differs from the cure amounts listed in the Notice of Potentially Assumed
Contract or Lease was also required to be Filed with the Bankruptcy Court no later than April 25,
2025.

        PLEASE TAKE FURTHER NOTICE THAT, pursuant to the Sale Order, any
counterparty to an Executory Contract or Unexpired Lease that failed to timely object to the
proposed assumption, assumption and assignment, or related Cure Claim is deemed to have
assented to such assumption and assignment and/or Cure Claim of such Executory Contract or
Unexpired Lease, as applicable, and any untimely objection shall be disallowed and forever barred,
estopped, and enjoined from assertion, and shall not be enforceable against the Purchaser, without
the need for any objection by the Purchaser or any other party in interest or any further notice to
or action, order, or approval of the Court. Such counterparties to such Executory Contract(s) or
Unexpired Lease(s) shall be deemed to release and waive, subject to such counterparties’ receipt
of the applicable Cure Claim, any and all rights arising under such Executory Contract(s) or
Unexpired Lease(s) related to any default, cross-default, termination, put right, or other similar
provision related to any event, default, or potential default on or occurring prior to the Closing
Date.

         PLEASE TAKE FURTHER NOTICE THAT assumption of any Executory Contract
and/or Unexpired Lease pursuant to the Sale Order shall result in the full release and satisfaction
of any claims or defaults, whether monetary or nonmonetary, including defaults of provisions
restricting the change in control or ownership interest composition or other bankruptcy-related
defaults, arising under any such Executory Contract or Unexpired Lease at any time on or before
the date that the Debtors assume or assume and assign such Executory Contract or Unexpired
Lease.

         PLEASE TAKE FURTHER NOTICE THAT neither the exclusion nor inclusion of any
Executory Contract or Unexpired Lease on Notice of Potentially Assumed Contract or Lease, shall
constitute an admission by the Debtors, the Trustee or Purchaser that any such contract or lease is
in fact an Executory Contract or Unexpired Lease, that any Debtor(s) has any liability thereunder,
or that such Executory Contract or Unexpired Lease is a binding and enforceable agreement. In
addition, the Trustee and Purchaser shall have the right to: (i) alter, amend, modify, or supplement
any information set forth herein, including to add or remove any Executory Contract or Unexpired
Lease from the Rejection List or Assumption List, pursuant to the terms of the Plan; and (ii) contest
any Claim asserted in connection with any Executory Contract or Unexpired Lease.

       Any questions regarding this Notice should be directed to John Higgins at 469-581-9204,
Email: john.higgins@zhone.com.




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 Dated: May 9, 2025.                         Respectfully submitted,

                                             DYKEMA GOSSETT PLLC

                                             By: By: /s/ Dominique A. Douglas
                                             Deborah D. Williamson
                                             Texas State Bar No. 21617500
                                             Dominique A. Douglas
                                             Texas State Bar No. 24134409
                                             DYKEMA GOSSETT PLLC
                                             112 E. Pecan St., Suite 1800
                                             San Antonio, Texas 78205
                                             Phone: 210-554-5275
                                             Email: dwilliamson@dykema.com
                                             Email: ddouglas@dykema.com

                                             ATTORNEYS FOR
                                             ZHONE TECHNOLOGIES, INC.
                                             FORMERLY KNOWN AS
                                             FIBRE ACQUISITION CORPORATION




                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on May 9, 2025, a true and correct copy of the foregoing
was served by electronic means as listed on the Court’s ECF noticing system and first class mail to
necessary contract counterparties.

                                                      /s/ Dominique A. Douglas
                                                      Dominique A. Douglas




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                                                        Exhibit 1
                                                     Assumption List




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           DZS ID                     Counterparty Name       Description of Contract or Lease


2.0135                         CHR SOLUTIONS INC; INTERBEL   MONTANA 522L — INTERBEL
                               TELEPHONE COOPERATIVE INC     CONTRACT CLOSEOUT
                                                             CERTIFICATION AND
                                                             CERTIFICATION OF COMPLETION
2.0142                         CITY OF CLARKSVILLE, CDE      PURCHASE AGREEMENT FOR
                               LIGHTBAND                     PRODUCTS AND SERVICES


2.0143                         TAMDEED PROJECTS LLC; SISALAT PURCHASE AGREEMENT FOR
                               SERVICES HOLDING LLC          PRODUCTS AND SERVICES


2.0144                         CLARO; PUERTO RICO TELEPHONE AMENDMENT NO. 7 TO THE MASTER
                               COMPANY INC                  SERVICE AGREEMENT


2.0145                         CLARO; PUERTO RICO TELEPHONE AMENDMENT NO. 7 TO THE MASTER
                               COMPANY INC                  SERVICE AGREEMENT


2.0146                         CLARO; PUERTO RICO TELEPHONE AMENDMENT NO. 7 TO THE MASTER
                               COMPANY INC                  SERVICE AGREEMENT


2.0147                         CLEARFIBER                    PURCHASE AGREEMENT FOR
                                                             PRODUCTS AND SERVICES


2.0156                         COMMUNICATION PARTNER SRL     RESELLER AGREEMENT



2.0160                         CONNECT HOLDING II LLC;       STATEMENT OF WORK FOR A
                               BRIGHTSPEED                   CLOUDCHECK SAAS
                                                             SUBSCRIPTION

2.0161                         CONNECTIX LTD                 RESELLER AGREEMENT



2.0164                         CONSOLIDATED COMMUNICATIONS AMENDMENT NUMBER THREE TO
                               ENTERPRISE SERVICES INC     THE PURCHASE AGREEMENT FOR
                                                           PRODUCTS AND SERVICES
                                                           BETWEEN CONSOLIDATED
2.0165                         CONSOLIDATED COMMUNICATIONS AMENDMENT NUMBER THREE TO
                               ENTERPRISE SERVICES INC     THE PURCHASE AGREEMENT FOR
                                                           PRODUCTS AND SERVICES
                                                           BETWEEN CONSOLIDATED
2.0166                         CONSOLIDATED COMMUNICATIONS AMENDMENT NUMBER THREE TO
                               ENTERPRISE SERVICES INC     THE PURCHASE AGREEMENT FOR
                                                           PRODUCTS AND SERVICES
                                                           BETWEEN CONSOLIDATED
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2.0167                         CONSOLIDATED COMMUNICATIONS RE: CALIFORNIA CONSUMER
                               INC                         PRIVACY ACT AMENDMENT TO THE
                                                           SUPPORT AGREEMENT
                                                           ("AGREEMENT(S)")
2.0168                         CONSOLIDATED COMMUNICATIONS AMENDMENT NUMBER ONE TO THE
                               SERVICES COMPANY            PRODUCT PURCHASE AGREEMENT
                                                           BETWEEN CONSOLIDATED
                                                           COMMUNICATIONS SERVICES
2.0169                         CONSOLIDATED COMMUNICATIONS AMENDMENT NUMBER TWO TO THE
                               SERVICES COMPANY            PRODUCT PURCHASE AGREEMENT
                                                           BETWEEN CONSOLIDATED
                                                           COMMUNICATIONS SERVICES
2.0170                         CONSOLIDATED COMMUNICATIONS ZHONE TECHNOLOGIES, INC.
                               SERVICES                    PURCHASE AGREEMENT FOR
                               COMPANY                     PRODUCTS AND SERVICES

2.0172                         CORNERSTONE TELEPHONE       PURCHASE AGREEMENT FOR
                               COMPANY                     PRODUCTS AND SERVICES


2.0176                         CRITICAL HUB NETWORKS INC   MUTUAL PRODUCT EVALUATION
                                                           AGREEMENT


2.0177                         CRITICAL HUB NETWORKS INC   PURCHASE AGREEMENT FOR
                                                           PRODUCTS AND SERVICES


2.0192                         DAMAMAX PSC                 PURCHASE AGREEMENT FOR
                                                           PRODUCTS AND SERVICES


2.0216                         DIRECTV ARGENTINA           PURCHASE AGREEMENT



2.0224                         DYNAMIC BANDWIDTH           AGREEMENT
                               ALLOCATION; EMIRATES
                               TELECOMMUNICATIONS
                               CORPORATION; ETISALAT
2.0233                         E-HOME AUTOMATION LLC       RESELLER AGREEMENT



2.0242                         EMIRATES INTEGRATED         UNDERTAKING & INDEMNITY
                               TELECOMMUNICATIONS          LETTER
                               COMPANY

2.0243                         EMIRATES INTEGRATED         UNDERTAKING & INDEMNITY
                               TELECOMMUNICATIONS          LETTER
                               COMPANY

2.0244                         EMIRATES TELECOMMUNICATIONS CONFIDENTIALITY AGREEMENT
                               COMPANY; ETISALAT
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2.0245                         EMIRATES TELECOMMUNICATIONS ADDENDUM NO. I
                               CORPORATION; EMIRATES
                               TELECOMMUNICATIONS GROUP
                               COMPANY PJSC; ETISALAT
2.0246                         EMIRATES TELECOMMUNICATIONS AGREEMENT
                               CORPORATION; ETISALAT


2.0247                         EMIRATES TELECOMMUNICATIONS ETISALAT STANDARD
                               CORPORATION; ETISALAT       INSTRUCTIONS AND CONDITIONS


2.0248                         EMIRATES TELECOMMUNICATIONS NON DISCLOSURE AGREEMENT
                               CORPORATION; ETISALAT


2.0249                         EMIRATES TELECOMMUNICATIONS CONFIDENTIALITY AGREEMENT
                               GROUP
                               COMPANY PJSC; ETISALAT

2.0250                         EMIRATES TELECOMMUNICATIONS SUBJECT: REQUEST TO PROVIDE
                               GROUP                       USER ACCESS TO ETISALAT
                               COMPANY PJSC; ETISALAT      ISUPPLIER PORTAL

2.0251                         EMIRATES TELECOMMUNICATIONS SUBJECT: REQUEST TO PROVIDE
                               GROUP                       USER ACCESS TO ETISALAT
                               COMPANY PJSC; ETISALAT      ISUPPLIER PORTAL

2.0258                         ETIHAD ETISALAT COMPANY;    MOBILY SUPPLIER CODE OF
                               ETISALAT; MOBILY            CONDUCT


2.0271                         FALCAO REAL                 RESELLER AGREEMENT



2.0273                         FARMERS TELEPHONE           PURCHASE AGREEMENT
                               COOPERATIVE INC


2.0274                         FARMERS TELEPHONE           PURCHASE AGREEMENT
                               COOPERATIVE INC


2.0275                         FARMERS TELEPHONE           PURCHASE AGREEMENT
                               COOPERATIVE INC


2.0276                         FARMERS TELEPHONE           PURCHASE AGREEMENT
                               COOPERATIVE INC


2.0278                         FIBERX INC                  PURCHASE AGREEMENT FOR
                                                           PRODUCTS AND SERVICES
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2.0279                         FIBERX INC                  RESELLER AGREEMENT



2.0292                         FOCUS BROADBAND INC         MUTUAL PRODUCT EVALUATION
                                                           AGREEMENT


2.0293                         FONEX DATA SYSTEMS INC      RESELLER AGREEMENT



2.0305                         GCI COMMUNICATION CORP      PURCHASE AGREEMENT FOR
                                                           PRODUCTS AND SERVICES


2.0311                         GENEXIS SWEDEN AB           MUTUAL CONFIDENTIALITY
                                                           AGREEMENT


2.0312                         GENEXIS SWEDEN AB           RESELLER AGREEMENT



2.0313                         GENEXIS SWEDEN AB           RESELLER AGREEMENT



2.0314                         GENEXIS SWEDEN AB           RESELLER AGREEMENT



2.0315                         GEOMETRIC RESULTS INC;      SOW PROFESSIONAL SERVICE
                               CONNECT HOLDINGS II LLC;    SUPPLIER LETTER
                               BRIGHTSPEED

2.0316                         GEORGIA PUBLIC WEB INC      PURCHASE AGREEMENT FOR
                                                           PRODUCTS AND SERVICES


2.0319                         GLOBAL COMPUTER             RESELLER AGREEMENT
                               COMMUNICATION SOLUTIONS
                               FZC

2.0323                         GOLDEN WEST                 PURCHASE AGREEMENT FOR
                               TELECOMMUNICATIONS COOP.,   PRODUCTS AND SERVICES
                               INC.

2.0324                         GOLDFIELD TELECOM LC        AMENDMENT NO. 1 TO THE
                                                           RESELLER AGREEMENT BETWEEN
                                                           PARADYNE CORPORATION AND
                                                           GOLDFIELD
2.0325                         GOLDFIELD TELECOM LC        AMENDMENT NO. 2
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2.0326                         GOLDFIELD TELECOM LC        RESELLER AGREEMENT



2.0329                         GRAND RIVER MUTUAL TEL      PURCHASE AGREEMENT FOR
                                                           PRODUCTS AND SERVICES


2.0330                         GRAYBAR ELECTRIC COMPANY    DISTRIBUTOR AGREEMENT
                               INC


2.0352                         HICKORY TELEPHONE COMPANY   MUTUAL PRODUCT EVALUATION
                                                           AGREEMENT


2.0353                         HICTORY TELEPHONE COMPANY   PURCHASE AGREEMENT FOR
                               (HTC) COMMUNICATIONS        PRODUCTS AND SERVICES


2.0370                         INFINITY BROADBAND LTD      PURCHASE AGREEMENT FOR
                                                           PRODUCTS AND SERVICES


2.0388                         INTER. TELECOM & ELECT.     MUTUAL PRODUCT EVALUATION
                               CORPORATION ITEC            AGREEMENT
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